               Case 1:19-cv-00430-TSC Document 4-3 Filed 04/29/19 Page 1 of 2



1
                               UNITED STATES DISTRICT COURT
2                                  DISTRICT OF COLUMBIA
3

4
     TEKWAY, INC., an Illinois corporation,
5    4104 Sterling Road
     Downers Grove, IL 60515
6                                             Case No.: 1:19-cv-00430-TSC
7     Plaintiff,
                                              PLAINTIFF’S STATEMENT OF MATERIAL
8            vs.                              FACTS NOT IN DISPUTE
9
     UNITED STATES CITIZENSHIP AND            Judge Tanya S. Chutkan
10   IMMIGRATION SERVICES,
     20 Massachusetts Ave NW,
11   Washington DC 20529
12

13
                              Defendant.
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                              1
              Case 1:19-cv-00430-TSC Document 4-3 Filed 04/29/19 Page 2 of 2



1    Plaintiff maintains that following fact is not in dispute:

2    That all the exhibits filed with its motion for summary judgment are part of the administrative
3
     record in this matter.
4

5     Respectfully Submitted this day 29th of April, 2019.
     /s/ Michael E Piston
6
     Michael E. Piston (MI 002)
7    Attorney for the Plaintiff
     225 Broadway,
8    Suite 307
     New York, NY, 10007
9
     Ph: 646-845-9895
10   Fax: 206-770-6350
     Email:michaelpiston4@gmail.com
11

12
     CERTIFICATE OF SERVICE
13
     I certify that the foregoing was served today upon the defendant at its last known address by
14
     depositing it with United Parcel Service for next day delivery to:
15

16

17   United States Citizenship and Immigration Services
     20 Massachusetts Ave NW
18
     Washington DC 20529
19
     It was also served in the same day and the same manner upon the defendant’s presumed counsel:
20
     United States Attorney’s Office
21
     c/o Civil Process Clerk
22    555 4th St NW, Washington, DC 20530

23   s/ Michael E. Piston
     Michael E. Piston (MI 002)
24   Attorney for the Plaintiffs
25   225 Broadway Suite 307
     New York, NY 10007
26   646-845-9895
     April 29, 2019
27

28


                                                        2
